                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )
                                                 )
                     v.                          )   Case No.:    13-00317-06-CR-W-GAF
                                                 )
AUSTIN C. KNIGHT,                                )
                                                 )
       Defendant.                                )

                      MEMORANDUM OF MATTERS DISCUSSED AND
                      ACTION TAKEN AT PRETRIAL CONFERENCE

        Pursuant to the order of the Court en banc of the United States District Court for the

Western District of Missouri, a pretrial conference was held in the above-entitled cause before

me on April 22, 2015.     Defendant Knight appeared in person and with retained counsel Byron

Woehlecke.     The United States of America appeared by Assistant United States Attorney Stefan

Hughes.

I.      BACKGROUND

        On September 25, 2013, an indictment was returned charging Defendant with one count

of possessing a stolen firearm, in violation of 18 U.S.C. §§ 922(j) and 924(a)(2).

        The following matters were discussed and action taken during the pretrial conference:

II.     TRIAL COUNSEL

        Mr. Hughes announced that he will be the trial counsel for the government.      The case

agent to be seated at counsel table is Special Agent Gordan Mallory, ATF.

        Mr. Woehlecke announced that he will be the trial counsel for Defendant Knight.

III.    OUTSTANDING MOTIONS

        There are no pending motions in this case.




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IV.       TRIAL WITNESSES

          Mr. Hughes announced that the government intends to call 15 witnesses without

stipulations or 14 witnesses with stipulations during the trial.

          Mr. Woehlecke announced that Defendant Knight intends to call 3 witnesses during the

trial. Defendant may testify.

V.        TRIAL EXHIBITS

          Mr. Hughes announced that the government will offer approximately 75 exhibits in

evidence during the trial.

          Mr. Woehlecke announced that Defendant Knight will not offer any exhibits in evidence

during the trial.

VI.       DEFENSES

          Mr. Woehlecke announced that Defendant Knight will rely on the defense of general

denial.

VII.      POSSIBLE DISPOSITION

          Mr. Woehlecke stated this case is definitely for trial.

VIII. STIPULATIONS

          Stipulations are likely as to the interstate nexus of the firearm.

IX.       TRIAL TIME

          Counsel were in agreement that this case will take 3 days to try.

X.        EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

          The U. S. Magistrate Judge ordered:

          That, in addition to the requirements of the Stipulations and Orders filed September 15,
          2014, counsel for each party file and serve a list of exhibits he intends to offer in
          evidence at the trial of this case on the form entitled Exhibit Index and have all available
          exhibits premarked using the stickers provided by the Clerk of Court by Wednesday,




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       April 22, 2015;

       That counsel for each party file and serve requested jury voir dire examination questions
       by or before noon, Wednesday, April 29, 2015;

       That counsel for each party file and serve, in accordance with the requirements of Local
       Rule 51.1, requested jury instructions 1 by or before noon, Wednesday, April 29, 2015.
       Counsel are requested to provide proposed jury instructions in both hard copy form, as
       required by Local Rule 51.1, and by e-mail to the trial judge=s courtroom deputy.

XI.    UNUSUAL QUESTIONS OF LAW

       No motions in limine are anticipated. There are no unusual questions of law.

XII.   TRIAL SETTING

       All counsel and Defendant were informed that this case will be listed for trial on the joint

criminal jury trial docket which commences on May 4, 2015.        The parties request the second

week of the trial docket due to scheduling issues.



                                                       /s/ Robert E. Larsen
                                                     ROBERT E. LARSEN
                                                     United States Magistrate Judge

Kansas City, Missouri
April 22, 2015
cc:    Mr. Kevin Lyon




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         Counsel in all cases assigned to be tried before Judge Fernando Gaitan, Jr., as reflected
in the trial letter, shall meet and prepare a packet of agreed proposed jury instructions to be
submitted to Judge Gaitan and e-mailed to marylynn_shawver@mow.uscourts.gov and
rhonda_enss@mow.uscourts.gov by May 1, 2015. To the extent there are disagreements to
certain instructions, each attorney shall tab and submit his or her preference on those
instructions. The instructions shall be listed in the order they are to be given.


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